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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re                                                    Chapter 11

    Lordstown Motors Corp., et al.,1                         Case No. 23-10831-MFW

                                                             (Jointly Administered)

                                       Debtors


          REVISED ORDER GRANTING RELIEF FROM THE AUTOMATIC
           STAY, TO THE EXTENT APPLICABLE, TO PERMIT PAYMENT,
     REIMBURSEMENT AND/OR ADVANCEMENT OF DEFENSE COSTS AND FEES
      AND RELATED EXPENSES TO EDWARD HIGHTOWER AND ADAM KROLL
            UNDER DIRECTORS AND OFFICERS INSURANCE POLICIES

            Upon the motion (the “Motion”)2 of Edward Hightower and Adam Kroll for the entry of

an order granting relief from the automatic stay, to the extent such stay applies, to permit the

Insurers to advance and pay proceeds, including covered defense costs, of Debtors’ directors and

officers liability insurance policies to or on behalf of Messrs. Hightower and Kroll, and to enter

into settlements (subject to the district court’s approval) (“Covered Costs”) on behalf of Messrs.

Hightower and Kroll in the Securities Litigation; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012; and this Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court

may enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in


1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corporation (“LMC”) (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The
Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.
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the best interests of the Debtors’ estates, their creditors, and other parties in interest; and due and

sufficient notice of the Motion having been given under the particular circumstances; and this

Court having reviewed the Certification of Counsel Regarding Revised Order Granting Relief

From the Automatic Stay, to the Extent Applicable, to Permit Payment, Reimbursement and/or

Advancement of Defense Costs and Fees and Related Expenses to Edward Hightower and Adam

Kroll Under Directors and Officers Insurance Policies [Docket No. 897]; and it appearing that no

other or further notice need be provided; and after due deliberation thereon; and good and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      To the extent applicable, the automatic stay is modified solely to the extent

necessary to permit and authorize the Insurers to make payments to or for the benefit of Messrs.

Hightower, Kroll, and Ninivaggi for the reimbursement and payment of Covered Costs incurred

in connection with the Securities Litigation, under and in accordance with the terms of the D&O

Policies.

       3.      The payments contemplated in this Order may include both Covered Costs that

remain outstanding as a result of the Debtors’ Chapter 11 bankruptcy filings, as well as Covered

Costs that have and may continue to be incurred by Messrs. Hightower, Kroll, and Ninivaggi unless

or until the Covered Costs no longer qualify as covered Losses under the terms of the D&O

Policies.

       4.      Nothing in this Order shall modify or alter the terms of the D&O Policies or the

parties’ contractual rights and obligations thereunder.

       5.      Nothing in this Order shall preclude Messrs. Hightower, Kroll, and Ninivaggi from,

at any time, by motion or further stipulation, seeking further access to other insurance policies, nor
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shall the Debtors, the Official Committee of Unsecured Creditors or the Official Committee of

Equity Security Holders be precluded from opposing such request.

        6.        The terms and conditions of this Order are immediately effective and enforceable

upon its entry.




Dated: January 10th, 2024                           MARY F. WALRATH
Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE
